Case 1:18-cv-00783-VAC-MPT Document 9 Filed 07/16/18 Page 1 of 9 PageID #: 75



                                               IN THE UNITED STATES DISTRICT COURT
                                                   FOR THE DISTRICT OF DELAWARE



 E CREDIT EXPRESS, INC.,

                                       Plaintiff,
                                                                         C.A. No. 1:18-cv-783-VAC-MPT
                 v.
                                                                         JURY TRIAL DEMANDED
 AUTOGRAVITY CORPORATION,

                                     Defendant.



 AUTOGRAVITY CORPORATION’S ANSWER, AFFIRMATIVE DEFENSES, AND
COUNTERCLAIMS TO PLAINTIFF’S COMPLAINT FOR PATENT INFRINGEMENT

              Defendant AutoGravity Corporation (“AutoGravity”) files this Answer and Affirmative

Defenses to Plaintiff E Credit Express, Inc.’s (“Plaintiff”) Complaint for Patent Infringement

(“Complaint”) and denies the allegations and characterizations in Plaintiff’s Complaint unless

expressly admitted in the following paragraphs.1

                                                               PARTIES

              1.             AutoGravity is without knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 1 of the Complaint and, on that basis, denies all such

allegations.

              2.             AutoGravity admits the allegations in Paragraph 2 of the Complaint.




                                                            
1
  For avoidance of doubt, AutoGravity denies liability for all allegations of patent infringement
included or implied in the introductory paragraph or in any headings of the Complaint.
Case 1:18-cv-00783-VAC-MPT Document 9 Filed 07/16/18 Page 2 of 9 PageID #: 76



                                  JURISDICTION AND VENUE

       3.        AutoGravity admits that Plaintiff has alleged patent infringement arising under

the patent laws of the United States, Title 35 of the United States Code. AutoGravity denies any

remaining allegation in Paragraph 3 of the Complaint.

       4.        AutoGravity admits that this Court has subject matter jurisdiction over this action

pursuant to 28 U.S.C. §§ 1331 and 1338(a) because Plaintiff has alleged infringement of a

patent, but AutoGravity denies it has committed or is committing acts of infringement and denies

Plaintiff is entitled to any relief. AutoGravity denies any remaining allegations in Paragraph 4 of

the Complaint.

       5.        AutoGravity admits that it conducts business in the State of Delaware.

AutoGravity denies it has committed or is committing acts of infringement within the State of

Delaware or in this District and, on that basis, denies the remaining allegations of Paragraph 5 of

the Complaint.

       6.        AutoGravity denies having a regular and established place of business in the State

of Delaware, and denies it has committed or is committing acts of infringement within the State

of Delaware or in this District and, on that basis, denies the allegations of Paragraph 6 of the

Complaint.

                                        PATENT-IN-SUIT

       7.        AutoGravity is without knowledge or information sufficient to form a belief as to

the truth of the allegations in Paragraph 7 of the Complaint and, on that basis, denies all such

allegations.

       8.        AutoGravity admits that the purported copy of U.S. Patent No. 8,909,551 (the

“’551 Patent”) that is attached to the Complaint as Exhibit A indicates that it issued on December




                                                  2
Case 1:18-cv-00783-VAC-MPT Document 9 Filed 07/16/18 Page 3 of 9 PageID #: 77



9, 2014, and is entitled “System and method of Expedited Credit and Loan Processing.”

AutoGravity is without knowledge or information sufficient to form a belief as to the truth of the

remaining allegations in Paragraph 8 of the Complaint and, on that basis, denies all such

allegations.

       9.      AutoGravity denies all allegations in Paragraph 9 of the Complaint.

       10.     AutoGravity denies all allegations in Paragraph 10 of the Complaint.

       11.     AutoGravity denies all allegations in Paragraph 11 of the Complaint.

                                    COUNT I
                  ([ALLEGED] INFRINGEMENT OF THE ’551 PATENT)

       12.     AutoGravity incorporates by reference each of its responses set forth in

Paragraphs 1-11 above as if fully set forth herein.

       13.     AutoGravity denies all allegations in Paragraph 13 of the Complaint.

       14.     AutoGravity denies all allegations in Paragraph 14 of the Complaint.

       15.     AutoGravity denies all allegations in Paragraph 15 of the Complaint.

       16.     AutoGravity denies all allegations in Paragraph 16 of the Complaint.

       17.     AutoGravity denies all allegations in Paragraph 17 of the Complaint.

       18.     AutoGravity denies all allegations in Paragraph 18 of the Complaint.

       19.     AutoGravity denies all allegations in Paragraph 19 of the Complaint.

       20.     AutoGravity denies all allegations in Paragraph 20 of the Complaint.

                        [PLAINTIFF’S] DEMAND FOR JURY TRIAL

       AutoGravity is not required to provide a response to Plaintiff’s request for a trial by jury.

                           [PLAINTIFF’S] PRAYER FOR RELIEF

       AutoGravity denies the Plaintiff is entitled to any relief from AutoGravity and denies all

the allegations contained in Paragraphs (A)-(I) of Plaintiff’s Prayer for Relief.



                                                  3
Case 1:18-cv-00783-VAC-MPT Document 9 Filed 07/16/18 Page 4 of 9 PageID #: 78



                                  AFFIRMATIVE DEFENSES

        AutoGravity’s Affirmative Defenses are listed below. AutoGravity reserves the right to

amend its answer to add additional Affirmative Defenses consistent with the facts discovered in

this case.

                               FIRST AFFIRMATIVE DEFENSE

        AutoGravity has not infringed and does not infringe, under any theory of infringement

(including directly (whether individually or jointly) or indirectly (whether contributorily or by

inducement)), any valid, enforceable claim of the ’551 Patent (the “Asserted Patent”).

                             SECOND AFFIRMATIVE DEFENSE

        Each asserted claim of the Asserted Patent is invalid for failure to comply with one or

more of the requirements of the United States Code, Title 35, including without limitation, 35

U.S.C. §§ 101, 102, 103, and 112, and the rules, regulations, and laws pertaining thereto.

                              THIRD AFFIRMATIVE DEFENSE

        Plaintiff’s attempted enforcement of the Asserted Patent against AutoGravity is barred by

the doctrine of inequitable conduct.

                             FOURTH AFFIRMATIVE DEFENSE

        To the extent that Plaintiff and any predecessors in interest to any of the Asserted Patent

failed to properly mark any of their relevant products or materials as required by 35 U.S.C. §

287, or otherwise give proper notice that AutoGravity’s actions allegedly infringe the Asserted

Patent, AutoGravity is not liable to Plaintiff for the acts alleged to have been performed before it

received actual notice that it was allegedly infringing the Asserted Patent.

                               FIFTH AFFIRMATIVE DEFENSE

        To the extent that Plaintiff asserts that AutoGravity indirectly infringes, either by

contributory infringement or inducement of infringement, AutoGravity is not liable to Plaintiff


                                                  4
Case 1:18-cv-00783-VAC-MPT Document 9 Filed 07/16/18 Page 5 of 9 PageID #: 79



for the acts alleged to have been performed before AutoGravity knew that its actions would

cause indirect infringement.

                               SIXTH AFFIRMATIVE DEFENSE

         Plaintiff’s attempted enforcement of the Asserted Patent against AutoGravity is barred by

one or more of the equitable doctrines of laches, estoppel, acquiescence, waiver, and unclean

hands.

                             SEVENTH AFFIRMATIVE DEFENSE

         The claims of the Asserted Patent are not entitled to a scope sufficient to encompass any

system employed or process practiced by AutoGravity.

                               EIGHTH AFFIRMATIVE DEFENSE

         Plaintiff’s Complaint fails to state a claim upon which relief can be granted because,

among other things, Plaintiff has not stated a plausible allegation that AutoGravity makes, uses,

or sells each claimed element of any asserted claim, or that AutoGravity directs or controls

another entity to make, use, or sell any element that is not made, used, or sold by AutoGravity.

                               NINTH AFFIRMATIVE DEFENSE

         To the extent Plaintiff contends that it alleges a claim for indirect infringement (whether

by inducement or contributorily), Plaintiff has failed to state a claim upon which relief can be

granted.

                               TENTH AFFIRMATIVE DEFENSE

         Plaintiff’s Complaint fails to state a claim upon which relief can be granted because the

Asserted Patent do not claim patentable subject matter under 35 U.S.C. § 101.




                                                  5
Case 1:18-cv-00783-VAC-MPT Document 9 Filed 07/16/18 Page 6 of 9 PageID #: 80



                           ELEVENTH AFFIRMATIVE DEFENSE

       Plaintiff’s Complaint fails to state a claim upon which relief can be granted because,

among other things, Plaintiff has not stated a plausible allegation that any method employed by

AutoGravity consummates a loan and/or credit transaction.

                           AUTOGRAVITY’S COUNTERCLAIMS

       For its counterclaims against Plaintiff E Credit Express, Inc. (“E Credit”), Counterclaim

Plaintiff AutoGravity Corporation (“AutoGravity”) alleges as follows:

                                            PARTIES

       1.      Counterclaim Plaintiff AutoGravity is a corporation organized and existing under

the laws of the State of Delaware, and that it has a place of business at 15945 Sand Canyon

Avenue, Suite 100, Irvine, California 92618.

       2.      Upon information and belief based solely on Paragraph 1 of the Complaint as pled

by Plaintiff, Counterclaim Defendant E Credit Systems, Inc. is a corporation organized and

existing under the laws of the State of Michigan, with its principal place of business located at

29108 Lorie Lane, Wixon, Michigan 48393.

                                        JURISDICTION

       3.      AutoGravity incorporates by reference Paragraphs 1–2 above.

       4.      These counterclaims arise under the patent laws of the United States, Title 35,

United States Code. The jurisdiction of this Court is proper under at least 35 U.S.C. § 271 et seq.,

and 28 U.S.C. §§ 1331, 1338, 1367, and 2201–02.

       5.      E Credit has consented to the personal jurisdiction of this Court at least by

commencing its action for patent infringement in this District, as set forth in its Complaint.

       6.      Based solely on E Credit filing of this action, venue is proper, though not

necessarily convenient, in this District pursuant at least 28 U.S.C. §§ 1391 and 1400.


                                                 6
Case 1:18-cv-00783-VAC-MPT Document 9 Filed 07/16/18 Page 7 of 9 PageID #: 81



                                 COUNT I
                  DECLARATION REGARDING NON-INFRINGEMENT

       7.      AutoGravity incorporates by reference Paragraphs 1–6 above.

       8.      Based on E Credit’s filing of this action and at least AutoGravity’s first

affirmative defense, an actual controversy has arisen and now exists between the parties as to

whether AutoGravity infringes U.S. Patent No 8.909,551 (the “’551 Patent”) (the “Asserted

Patent”).

       9.      AutoGravity does not infringe Claim 1 of the ’551 Patent because, among other

things, AutoGravity does not consummate credit and/or loan transactions, nor does it have a

feature for completing a finance transaction on users’ phones or other devices.

       10.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq.,

AutoGravity requests a declaration by the Court that AutoGravity has not infringed and does not

infringe any claim of the Asserted Patent under any theory (including directly (whether

individually or jointly) or indirectly (whether contributorily or by inducement)).

                                    COUNT II
                        DECLARATION REGARDING INVALIDITY

       11.     AutoGravity incorporates by reference Paragraphs 1–10 above.

       12.     Based on E Credit’s filing of this action and at least AutoGravity’s Second

Affirmative Defense, an actual controversy has arisen and now exists between the parties as to

the validity of the claims of the Asserted Patent.

       13.     The asserted claims of the Asserted Patent are anticipated and/or rendered

obvious by, inter alia, U.S. Patent No. 7,181,427.

       14.     Pursuant to the Federal Declaratory Judgment Act, 28 U.S.C. §2201 et seq.,

AutoGravity requests a declaration by the Court claims of the Asserted Patent are invalid for




                                                 7
Case 1:18-cv-00783-VAC-MPT Document 9 Filed 07/16/18 Page 8 of 9 PageID #: 82



failure to comply with one or more of the requirements of United States Code, Title 35, including

without limitation, 35 U.S.C. §§ 101, 102, 103, and 112, and the rules, regulations, and laws

pertaining thereto.

                                    PRAYER FOR RELIEF

       WHEREFORE, AutoGravity asks this Court to enter judgment in AutoGravity’s favor

and against E Credit by granting the following relief:

       a)      a declaration that the Asserted Patent are invalid;

       b)      a declaration that AutoGravity does not infringe, under any theory, any valid

claim of the Asserted Patent that may be enforceable;

       c)      a declaration that the Asserted Patent are unenforceable;

       d)      a declaration that E Credit take nothing by its Complaint;

       e)      judgment against E Credit and in favor of AutoGravity;

       f)      dismissal of the Complaint with prejudice;

       g)      a finding that this case is an exceptional case under 35 U.S.C. § 285 and an award

to AutoGravity of its costs and attorneys’ fees incurred in this action; and

       h)      further relief as the Court may deem just and proper.

                                        JURY DEMAND

       AutoGravity hereby demands trial by jury on all issues.




                                                 8
Case 1:18-cv-00783-VAC-MPT Document 9 Filed 07/16/18 Page 9 of 9 PageID #: 83



Dated: July 16, 2018               FISH & RICHARDSON P.C.


                                   By: /s/ Jeremy D. Anderson
                                       Jeremy D. Anderson (Bar No. 4515)
                                       222 Delaware Avenue, 17th Floor
                                       Wilmington, Delaware 19899
                                       (302) 652-5070 (Telephone)
                                       janderson@fr.com

                                          Neil J. McNabnay
                                          David B. Conrad
                                          Ricardo J. Bonilla
                                          Rodeen Talebi
                                          1717 Main Street, Suite 5000
                                          Dallas, Texas 75201
                                          (214) 747-5070 (Telephone)
                                          (214) 747-2091 (Facsimile)
                                          mcnabnay@fr.com; conrad@fr.com;
                                          rbonilla@fr.com; talebi@fr.com

                                   ATTORNEYS FOR DEFENDANT
                                   AUTOGRAVITY CORPORATION




                                      9
